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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE TIMOTHY M. REIF, JUDGE


 UNITED STATES,

       Plaintiff,                                     Court No. 19-00102

v.

CHU-CHIANG "KEVIN" HO,
WINTIS CORPORATION, SHIP
COMMUNICATIONS, INC.,
AELIS NOVA, LLC, and
MADERDOVE, LLC,

       Defendants.




                                 STATUS REPORT


      Pursuant to the Court's Order dated September 14, 2021 , as well as the
most current Order granting an extension of time, dated July 8, 2022, the parties
respectfully submit a joint status report to the Court in this matter.
      Effective July 25, 2022, new counsel D. Jay Ritt of Ritt Hodges LLP
substituted into this matter for Defendant CHU-CHIANG "KEVIN" HO. The
United States does not oppose the substitution of attorney in any way.
      Between July 26, 2022 and August 9, 2022, Mr. Ritt and William Kanellis
on behalf of the United States met and conferred multiple times via telephone
and Zoom. In their most recent discussions, Mr. Ritt and Mr. Kanellis were joined
by Richard Novak, counsel for Defendant Ho in his criminal matter in the
Northern District of California - since resolved by way of plea, conviction, time



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served and a judgment order - related to the same events giving rise to this
action.
      As a result of these discussions, the parties are at the following point in
resolution of this civil matter:
       1.     Defendant Kevin Ho anticipates he will be entering into a partial
judgment as set forth in the earlier Status Report of July 27, 2021 ;
      2.     The parties through counsel are currently meeting and conferring
regarding the amount of that judgment;
      3.     To that end, Defendant Ho will be providing extensive financial
disclosures and coordinating with both the DOJ in this action and the probation
office in the Northern District of California where Defendant's criminal conviction
and judgment resides in order to arrive at a fair and equitable civil judgment and
payment plan that is achievable and congruent; and
      4.     The parties will be requesting a Stay of three (3) months in order to
pursue the foregoing steps towards resolution.


       Counsel for the United States has reviewed this report and consents to the
representations made on its behalf.


                                       Respectfully submitted,

DATED: August 12, 2022                 RITT HODGES LLP

                                          Is/ D. Jay Ritt
                                       D. JAY RITT
                                       65 North Raymond Ave., Suite 320
                                       Pasadena, CA 91 103
                                       Tel: (626) 685-2550
                                       Email: ritt@rtthlaw.com
                                       Attorneys for Defendant CHU-CHIANG
                                       "KEVIN HO

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 1                             CERTIFICATE OF SERVICE
2

 3       Ihereby certify that on August 12, 2022, 1electronically filed documents with
4 the Clerk of the Court by using the CM/ECF system described as:

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 6                                      STATUS REPORT
 7
 8       Icertify that all registered CM/ECF participants in the case were served
 9 electronically through the United States Court of International Trade CM/ECF website

10 as evidenced on the Notice of Electronic Filing.

11
12       Ideclare under penalty of perjury under the laws of the State of California that
13 the foregoing is true and correct.

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15       Executed on August 12, 2022, at Pasadena, California.
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                                          LISA M. WELLS
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